;:,?,_B§,L§, Case 2:02-Cr-20191-BBD Document 71 Filed 06/17/05 Page 1 of 5 Page|D 72

UNITED STATES DISTRICT COURT
F:l.Ec) ev § \.___ o.c.

 

for
05 JUN I'l PH h= 1¢2
WESTERN DI§TRICT OF TENNESSEE
ass ease
WESTERN DIVISION Wlb;~ O,F ~;[.-i;j]; ;\`;;?éM-¥,H|é
U.S.A. vs. TERRY BOWEN Doeket No. 2:0 CR20191-001

 

Petition on Probation and Supervised Release

COMES NOW FREDDIE MCMASTER II PROBATION OFFICER OF THE COURT
presenting an official report upon the conduct and attitude of Tem Bowen who was placed on supervision by the
Honorable Bernice B. Donald sitting in the Court at Memphis, TN on the Ltl_t day of Me, _Z_Q(B who iixed the period
of supervision at two 121 years*, and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:

 

The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the probation officer
for treatment of narcotic addiction or drug or alcohol dependency which may include testing for the detection of
substance use or abuse.

The defendant shall seek and maintain full-time lawful employment

*Term of Supervised Release began July 18, 2004.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
Please see attached sheet

PRAYING THAT 'I`HE COURT WILL ORDER a Warrant be issued for Mr. Bowen to appear before the

Honorable Bernice B. Donald to answer charges of violation of Supervised Release.

Bond:

ORDER OF COURT I declare under penalty of perjury that the foregoing
is true and correct.

_ _ /¢»t
Considered and ordered this / 7 day
o '.r- , 20 0 )/and ordered til- . d Executed on @, m /§ ga 05
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U.S. Probation Oflicer

       
   

 

Place: Mem his Tennes

Thls docl.ment entered on the dockets set in c m li e
with Fl.\le 55 and!or 32tbl FRCrP on _&_M

 

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Bowen, Terry
Docket No. 2:02CR20191-001

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT HAS VIOLATED TI-IE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:

The defendant shall not commit another federal, state, or local crime.

On llurie 10, 2005, Mr. Bowen was arrested and charged by the Memphis Police Department on a warrant issued
June 7, 2005, for Possession with latent to Sell a Controlled Substance, to wit: Crack Cocaine. On April 6, 2005,
the Memphis Police Organized Crime Unit was conducting undercover operations utilizing a detective as the decoy
buyer. '[he detective approached an unknown individual and asked to buy ten dollars of crack cocaine. The suspect
and detective entered a residence at which time .5 grams of crack cocaine was purchased When the take down
signal was given, the suspect ran out the back door and avoided capture. On May 24, 2005, the unknown suspect
was discovered to be Terry Bowen after the officer involved determined Bowen’s identification through his driver’s
license. 'I'his case is set for a preliminary hearing September 1, 2005, in Shelby County General Sessions Court.

The defendant shall refrain from any unlawful use of a controlled substance and the defendant shall not
possess a controlled substance.

Mr. Bowen used a controlled substance as evidenced by positive screens for marijuana on September 24, 2004, and
cocaine on January 28, 2005.

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1~ Defe“da“* va Bowen 1216 KeeUMn*/__~

 

 

 

 

2. Docket Number (Year-Sequence-Defendant No.) 2:02CR2019I-001
3. District/Office We§tern District of Tennessee (Memnhisl
4. Original Sentence Datc 06 26 03
month day year
(Hd{`#`erent than above):

 

5. Original District/Ottice

6. Original Docket Number (Year-Sequence-Defendant No.)

 

7. List each violation and determine the applicable grade {_se_e §7Bl.l}:

 

 

 

 

 

Violation{s} Grade
New criminal conduct: Possession with latent to Sell Cocaine A
Usage of a controlled substance (marijuana & cocaine) B

8. Most Serious Grade ofViolation (se_e §7B].l(b) A
Vl

9. Crirninal History Category (s_e_e §7B1.4(a))74

10. Range of imprisonment (E §731.4(3.)) 33-410nths*

*Being originally convicted of a Class C felony, the statutory maximum term of imprisonment is 24 months; 18 U.S.C. §3583(¢)(3).

 

ll. Sentencing Options for Grade B and C vioiations Only (Check the appropriate box):

{ } (a)If the minimum term of imprisonment determined under §7Bl .4(Term oflmprisonment) is at least one month
but not more than six months, §7B 1 .3(c) {I) provides sentencing options to imprisonment

{ } (b)If the minimm'n term of imprisonment determined under §7Bl.4(Term of lmprisonment) is more than six
months but not more than ten months, §7B1.3(c) (2) provides sentencing options to imprisonment

{ } (c)If the minimum term of imprisonment determined under §7Bl.4{Term of bnpn`sonment) is more than ten
months, no sentencing options to imprisonment are available.

Mail documents to: United States sentencing Conrmisslon, 1331 Pelnsylvania Aveuue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

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12. Unsatislied Conditions of Original Sentence

List any restitution, fme, community confinement home detention, or intermittent confinement previously imposed in connection with the
sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {m §7B1.3(d)}:

 

 

 

 

Restitution ($) N/A Community Confmernent N/A
Fine ($) N/A Home Detention N/A
Other N/A Interrnittent Confinement N/A

 

 

13. Supervised Release

If probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of §§501.1-1.3{se_e

§§7Bl-3(g)(l)}-

Term: N/A to N/A years
If supervised release is revoked and the term of imprisonment imposed is less than the maximum tenn of imprisonment impossible upon
revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {L 18 U.S.C. §3583(e) and §7Bl.3(g)(2)}.
Period of supervised release to be served following release from imprisonment

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

 

15. Official Detention Adjustment {gg §7Bl.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
case 2:02-CR-2019l Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

John Thornas Tibbetts

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/femphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

